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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

MWK RECRUITING INC and                                  §
COUNSEL HOLDINGS, INC.,                                 §
                                                        §
                 Plaintiff,                             §
                                                        §
v.                                                      §                    1:18-CV-0444-RP
                                                        §
EVAN P. JOWERS,                                         §
                                                        §
                 Defendant.                             §

                                                  ORDER

        Before the Court is Defendant Evan P. Jowers’s (“Jowers”) Notice of Disassociation of

Counsel. (Dkt. 348). In his notice, Jowers informed the Court that Kevin J. Cole (“Cole”), who

served as one of Defendant Evan P. Jowers’s (“Jowers”) trial attorneys, is seeking a “disassociation

of counsel” and asks to be removed from the CM/ECF service list. (Id. at 2). Plaintiff MWK

Recruiting Inc (“MWK”) filed a response, (Dkt. 349), and Jowers filed a reply, (Dkt. 352). The Court

construes Cole’s Notice as a motion to withdraw from representation.

        “An attorney may withdraw from representation only upon leave of the court and a showing

of good cause and reasonable notice to the client.” In re Wynn, 889 F.2d 644, 646 (5th Cir. 1989).

“The withdrawing attorney bears the burden of proving the existence of good cause for

withdrawal.” Rabin v. McClain, No. SA-10-CV-981-XR, 2011 WL 3793939, at *1 (W.D. Tex. Aug. 25,

2011). “‘[I]n assessing whether counsel has good cause to resign, federal courts look to multiple

factors,’ paramount among those factors ‘are considerations of undue delay in the proceedings,

prejudice to the client, and the interests of justice.’” Id. (quoting Dorsey v. Portfolio Equities, Inc., No.

3:04-CV-0472-B, 2008 WL 4414526, at *2 (N.D. Tex. Sept. 29, 2008)). “The record must generally
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reflect an appropriate basis for granting leave; unsubstantiated claims are insufficient.” F.T.C. v.

Itellipay, Inc., 828 F. Supp. 33, 33 (S.D. Tex. 1993). The decision of whether to permit withdrawal lies

within the sound discretion of the court. Wynn, 889 F.2d at 646.

        In the Western District of Texas, there are additional requirements for a motion to

withdraw: (1) the attorney seeking to withdraw from a case must file a motion specifying the reasons

for withdrawal and providing the name and office address of the successor attorney; and (2) if the

successor attorney is not known, the motion must: (a) set forth the client’s name, address, and

telephone number; and (b) bear either the client’s signature or a detailed explanation as to why the

client’s signature could not be obtained after due diligence. W.D. Tex. Loc. R. AT-3.

        Cole’s motion does not comply with the Court’s Local Rules: it does not specify the reasons

for withdrawal. Accordingly, Jowers’s motion, (Dkt. 348), is DENIED WITHOUT

PREJUDICE.

         SIGNED on May 9, 2023.




                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE




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